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                               EXHIBIT 15
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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLORADO

    Civil Action No.: 1:16-cv- 02981


    TECH INSTRUMENTATION, lNC., a Colorado corporation, individually and on
    behalf of all others similarly situated,

          Plaintiff,

    V


    EURTON ELECTRIC COMPANY, lNC., a Galifornia corporation

           Defendant.



                            PLAINTIFF'S NOTICE OF SUBPOENA



          To: ALL COUNSEL OF RECORD

        PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that

    Plaintiff will serve a Subpoena to Produce Documents, lnformation, or Obiects or to

    Permit lnspection of Premises in the form attached hereto, on WestFax, lnc. The

    subpoena will be sent to a process server on October 12,2017.



    Date: October 2,2017                    TECH INSTRUMENTATION, INC.


                                            /s/ Patrick H. Peluso
                                            Steven L. Woodrow #43140
                                            swood row@wood rowpel uso. com
                                            Patrick H. Peluso #47642
                                            ppel uso@wood rowpeluso. com
                                            WOODROW & PELUSO, LLC
                                            3900 East Mexico, Ave. Suite 300
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                                             Denver, CO 80210
                                             Telephone : (7 20) 213-067 5
                                             Facsimile: (303) 927-0809

                                             Attorneys for Plaintiff and the Alleged C/ass




                                  CERTIFICATE OF SERVICE

           l, Patrick H. Peluso, an attorney, hereby certify that I served the above and

    foregoing papers by causing true and accurate copies of such papers to be served on

    the below attorney(s) via electronic mail on this 2nd day of October 2017:

                                     THEODORE E. BACON
                                   tbacon@alvaradosm ith.com
                                      DAVID J. MASUTANI
                                 dmasutan i@alvaradosm ith. com
                                        AlvaradoSmith
                                      633 W. Fifth Street,
                                           Suite 1 100
                                    Los Angeles, CA 90071
                                     Phone: 213.229.2400



                                                     /s/ Patrick H . Peluso




                                                                                             2
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AO88B (Rev.02l14)SubpoenatoProduceDocumeltts,    Infbrr.natron,orObiectsortoPermitlnspectionolPretnisesinaCivil   Action



                                  UNrrBr Srares DIsrrucr CoURT
                                                                     for the
                                                           District of Colorado
Tech lnstrumentation, lnc
                                                                        )
                           Plainriff                                    )
                                                                        )       Civil ActionNo. 16-cv-02981-MSK-KMT
              Eurton Electric Company, lnc.                             )
                                                                        )
                          Defendant                                     )

                     SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION, OR OBJECTS
                       OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To                                                                 WestFax, lnc.

                                                  (Nane ofperson to whom this subpoena is directed)

     d Production:YOIJ ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electlonically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:See Attached Addendum A



 Place: 1rye66row & Peluso, LLC, 3900 E Mexico Ave, Ste. 300,                     Date and Time:
        Denver, CO 80210                                                                              1011712017 ,5:00 p.m


      3 Inspection of Premises.' YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other properly possessed or controlled by you at the time, date, and location set fofth below, so that the requestingparty
may inspect, measure, survey, photograph, test, or sample the propefty or any designated object or operation on it.

 Place:                                                                          Date and Time




        The following provisions of Fed. R. Civ. P.45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential conseqtlences ofnot doing so.

Date:        101212017

                              CLERKOF COURT
                                                                                     OR
                                                                                                          /s/ Steven L. Woodrow
                                       Signcrture of Clerk or Deput)t Clerk                                   Altorney's signatm'e


Tlre narne, addless, e-rnail address, and telephone number of the attolney representinS (tane of parry)        Plaintiff

                                                                           , who issues or requests this sttbpoena, are

Steven Woodrow, 3900 E Mexico Ave., Ste. 300, Denver, CO 80210, swoodrow@woodrowpeluso.com,                                    720.213.0675

                               Notice to the person who issues or requests this subpoena
If this subpoena colnrnands tlre prodr.rction of doculrents, electronically stored information, or tangible things or tlre
inspection of premises before trial, a notice and a copy of tlre subpoena must be served on eacl.t party in this case before
it is served on the person to whorn it is directed. Fed. R. Civ. P' a5(a)(a).
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AO88B (Rev.02l14)SubpoenatoProduceDocumeltts,     lnfbrrnation,orObjectsortoPermitlnspectionofPretnisesinaCivil     Action(Page2)


Civil Acrion No. 16-cv-02981-MSK-KMT

                                                         PROOF OF SERVICE
                        (Tltis section shoukl not be filed with the court unless required by Fed, R. Civ. P, 45,)

            I received this subpoenafor (name of individual and title, if any)
on (date)


            E I served the subpoena by delivering a copy to the named person as follows

                                                                                     on (date)                                  ;or

            il I returned the subpoena unexecuted because:

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to thewitness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            $


My fees are $                                  for travel and $                           for services, for a total of$               0



            'I
                 declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature



                                                                                           Printed name and title




                                                                                              Server's address


Additional information regarding atternpted service, etc.
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AO88B (Rev.02l14)SubpoenatoProduceDocuments,              Inlbrmatron,orObiectsortoPennitlnspectionofPretnisesinaCivil           Action(Page3)


                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective l2/l/13)
(c) Placc of Compliance,                                                                  (ii) disclosing an unretained expert's opinion or infbrnration that does
                                                                                    not describe specific occurrences in dispute and results from the expert's
  (l) For o Trinl, Henring, or Deposition. A subpoena nlay command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as lbllows:                      (C) Specifying Conditions as an Alternalive. In the circunlstances
   (A) within 100 miles of where the person resides, is ernployed, or               described in Rule 45(d)(3)(B), the court may, instead ofquashing or
regularly transacts business in person; or                                          modifoing a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is ernployed, or regttlarly      conditions ifthe serving party:
transacts business in person, ifthe person                                                (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                       otlrerwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                 (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                     (e) Duties in Responding to a Subpoena,
 (2) For Other Discovery. A subpoena may command:
   (A) production of documettts, electronically stored inlbrlnation, or               (l) Producitrg Doatntenls or Electonicnlly Stored Ittfommtion' These
tangib[e things at a place within 100 miles of where the person resides, is          procedures apply to producing docunrents or electronically stored
employed, or regularly transacts business in person; and                             infbrmation:
   (B) inspection ofprentises at the premises to be inspected.                          (A\ Docunenls. A person responding to a subpoena to produce documents
                                                                                     must produce them as they are kept in the ordinary course ofbusiness or
(d) Protecting a Person Subject to a Subpocna; Enforccmcnt'                          must organize and label them to correspond to the categories in the demand.
                                                                                        (B) Form Jor Producing Electronically Stored Inforntation Not Specified.
  (l\ Avoiding (Jndue Burden or Expensel Snnctiotrs. A party or attorney             Ifa subpoena does not specifo a forrn for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps            information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subiect to the                 which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                  (C) Electronically Stored Infonnation Produced in Only One Form. The
errforce this duty and impose an appropriate sanction-which may include              person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees-on a party or altorney who              information in more than one form.
fails to comply.                                                                        (D) Inaccessible Electronically Stored Information. The person
                                                                                     responding need not provide discovery ofeleclronically stored information
 (2) Command to Produce Moteilals or Permit Inspecliotl.                             from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person comtnanded to produce                       ofundue burden or cost. On motion to cornpel discovery or for a protective
documerrts, electronically stored information, or tangible things, or to             order, the person responding tnust show that the information is not
perrnit the inspection ofpremises, need not appear in person at the place of         reasonably accessible because ofundue burden or cost. Ifthat showing is
production or inspection unless also comnranded to appear for a deposition,          made, the court may nonetheless order discovery from such sources ifthe
hearing, or trial.                                                                   requesting party shows good cause, considering the limitations ofRule
   (B) Objections. A person comnranded to produce documents or tangible              26(bX2XC). The court nray speciS conditions for the discovery.
things or-to perrnit inipection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or              (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the prenlises-or to             (A\ lnforntation Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or fornrs requested.         under a claim that it is privileged or subject to protection as trial-preparation
ihe objeition must be served before the earlier ofthe time specified fbr             material must:
compliance or l4 days afier the subpoena is served. Ifan objection is made,               (i) expressly rrrake the claim; and
the following rules apply:                                                                (ii) describe tlre nature ofthe withheld docunrents, conrmunications, or
     (i) At any time, on notice to the conrnranded person, the serving party         tangible things in a manner that, without revealing inforrnation itself
may move the court lor the district wlrere compliance is required for an             privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                             (B\ lnforntation Produced. Ifinforrnation produced in response to a
     (ii) These acts may be required only as directed in the order, and the          subpoena is sub.ject to a claim ofprivilege or ofprotection as
order must protect a person who is neither a party nor a party's officer iiont       trial-preparation material, the person making the claim may noti$ any party
significant expense resulting from conrpliance.                                      that received the inibrmation of the clairn and the basis for it. After being
                                                                                     notified, a party nlust prornptly return, sequester, or destroy the specified
 (3) Quoshing or Motlifuing fl Subpoenfl.                                            infbrrnation and any copies it has; ntust not use or disclose the information
  (A) LVhen Required. On tirnely motion, the court 1br the districl rvhere           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                         infbrmation if the party disclosed it before being notilied; and may promptly
     (i) f'ails to allow a reasonable time to cornply;                               present the inforrrration under seal to the court for the district where
     (ii) requires a person 10 comply beyond the geographical lintits                conrpliance is required for a deternrination ofthe claim. The person who
specified in Rule 45(c);                                                             produced the information nrust preserve tlre infbrnration until the clairn is
      (iii) requires disclosure ofprivileged or other protected tnatter, ifno        resol ved.
exception or waiver applies; or
      (iv) subjects a person to undue burden.                                        (g) Contempt.
   (B) When Pernitlad. To protect a person sub.iect to or aflbcted by a              The court for the district where compliance is required-and also, afler a
subpoena, the court tbrthe district rvhere conrpliance is required may: on           lnotion is transf-erred, the issuing court-may hold in contenlpt a person
rrrotion, quash or modify the subpoena if it requires:                               who, having been served, fhils without adequate exctrse to obey the
       (i) disclosing a trade secret or olher conlldential research.                 subpoena or an order relatetl lo it.
development, or conrnercial inlbrmationl or




                                          For access to subpoena lnaterials. sec Fed. R. Civ. P. 45(a) Comlnittee Note (201 3)
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                  ADDENDUM A TO SUBPOENA TO PRODUCE DOCUMBNTS
                                 TO WESTFAX.INC.

       Please produce the following documents for inspection and copying on or before
       September 29,2017 . To the extent that WestFax, Inc. objects to any of the below
       requests on the basis of privilege, WestFax, Inc. must provide a privilege log and produce
       any and all non-privileged documents.

       I      All DOCUMENTS sufficient to IDENTIFY the web server logs showing any
              access or activity by EURTON ELECTRIC from December 6,2012 through the
              present.



                                              DEF'INITIONS

       I      "DOCUMENTS" means and refers to writings, contracts, manuals, papers,
              drawings, graphs, diagrams, maps, audits and audit results, records, reports,
              investigations, charts, studies, photographs, sound recordings, images, computer
              programs, letters, ESI, emails, text messages, contracts, spreadsheets, agreements,
              data, databases, and any and all other data or data compilations, including without
              limitation all ESI, Excel files, screen shots, proof of backups, data or other
              reporting data-stored in any medium from which information can be obtained.

       2      "EURTON ELECTRIC" means and refers to a California corporation, Eurton
              Electric Company, Inc. located at9920 Painter Avenue, Whittier, California
              90605, including all of its divisions, subsidiaries, related companies, predecessors
              and successors, and all of its owners, directors, lnanagers, agents, attorneys,
              affiliates, subsidiaries, employees, contractors, pattners, and joint ventures.

       3.     "IDENTIFY" shallmean the following:

              A       When referring to a person, it means to give the person's full name,
                      present address or last known address, additional phone nurnber, and email
                      address, and the nanre ofthe registered business associated, owned, or
                      operated, in any capacity by any such person.

              B       When referring to an entity, it means to give the entity's full name, contact
                      telephone nurnber, and email address, and any name that the entity
                      purpofts to do business as (d/b/a name), and the type of entity that the
                      business is registered as, including but not limited to business,
                      corporatiorr, I im ited I iabi I ity company, professional association, and
                      lirn ited I iability parlnership.


       4      "WESTFAX," or "YOU," or "YOUR" rneans and refers to WestFax, Inc.,
              inclLrding all of its divisions, subsidiaries, related companies, predecessors and
              successors, and all of its owners, directors, rnanagers, agents, attorneys, affiliates,
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            sr-rbsid iaries, employees, contractors, pallners, and j oint ventures
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                         AFFrDAVrr OF C{J$TODId\I OF"BUSTNESS REqORpS

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         COUNI"Y OF h .lt- rri, rv.U                   SS


                  I"
                                    C [," IL                       hein-t first duly srvorn, on oath depose aud
         say that:

               (l) I am an authorized custodian of the business recolds fbr"WestFax. Inc. of
         Centennial. Clolorado trnd have the ar.rtlrority to celtify those records.

                  (2)      'lhe copy o[ the records is a true copy of the records provided pursuant to
         a Sutrpoena server{ rrpon WestFax, Inc. irr the above referenced lawsuit.
                                                                                                             'l'lie lecords lvere
         retrievecl by personnel ol' WestFax, [nc,. actin-q under WestFax, Inc.'s clirection or'
         control" at or neal'the time the response to the Subpoena r.vas due.

                 (l) The records providetl were generated by WestFax Inc.'s proprietar-v" lax
         broadcilsting plarltbrnr. The platfbnl allolvs sendels to send f'acsirniles to recipients and
         creates certain recorcls coniemporaneously with the services perfornred and as a part ol
         WestFax. lnc.'s regular bttsittess practice.

                 (4) Other docurnents lequested in tlre Sr.rbpoena may have existed bLtt may uoi
         havc lctained as ar part ol WestFax, Inc.'s regular business practice.

                  (.5) 'l'he proprietary iirx broadcasting plallbrm. including revisions and
         rnodifications thereto, has been in continuo rus operat                     more than live (5) yea|s
         l'here were no reportecl problents r,vith the                              ng platfbrm rclating to thc
         recorcls ernd their accuritcv prc'lch"rcecJ pi.lrstrant                  11tl.




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                                                                         Public
Case No. 1:16-cv-02981-MSK-MDB Document 109-18 filed 11/01/21 USDC Colorado pg 10
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                                                                                           JURAT

       A notary public or other officer completing this certificate verifies only the
       identity of the individual who signed the document to which this certificate
       is attached, and not the truthfulness, accuracy, or validity of that document'


       Siale of California

       County of                                   I\J    G       L-



                                                                        -.: lt,
                                                                        .-Ju
                                                                                                                                                              I

       Subscribed and sworn to (or affirmed) before me on tnis?9 day of

       zo_11.._ by
                                                                               t\). t .f o                                  L
       proved to me on the basis of satisfactory evidence to be the person(s) who appeared
       before me.




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                                                                                       (Seal)                 o




                OPTIONAL INFORMATION                                                                                          INSTRUCTIONS
                                                                                                The tiording ol all Jwats compleled in Cali{ornia after January 1. 2015 nust be in the
                                                                                                forn as sel lolh wiihin lhis Juiat, Therc are no exceplions. l( a Juat to be completed
                                                                                                cioes not lollout lhis [orn, the nolary nust conecl the vefuiage by using a furat stanp
                                                                                                containing the conecl wording u atlaching a sepajale iwal lorm such as lhis \ne wilh
                                                                                                obes confarh the proper wotding. ln a,Jdition, lhe notary nusl rcquire an oath or
          DESCRIPTION OF THE ATTACHED DOCUMENT                                                  effirnalion frcn the docunent signer regarding lie l.ulrlulness a{ lhe contenl$ of the


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              0l                of attacbed document)
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                                                                                                docunenl. The docunent must be signed AFTER the oaih or aflirnalion. lf lhe document
                                                                                                wN previously signed. i! musl be re-siqted in kanl o( the nolary public duing the iuftl
                                                                                                process.
                                                                                                . State and county information must be the stale ancl county $ihere the
                     t             D                                                                documenl signer{s) personally appeared before the notary public.
        [fille or d€scription oi allached docrLment ccniinued)                                  , Date of notarizaiion must t'e the date the signe(s) personally
                                                                                                    appeared r,vhich must also be the same date the jurat process is
                                                                                                    completed.
         Number of Peges                 t     Do.rnl*nt        or,n-JuLac                      ' Print the narne(s) of the document signe(s) v/ho personally appesr at
                                                                                                  the time of notarization.
         )" $ l-l                                                                               . Signature of the notary public must nratch the signature on file with ihe
         AdCitional iniormation                                                                     office of the county clerk.
                                                                                                    -fhe notary seal impression musI be clear and photographically
                                                                                                "
                                                                                                    reproducible. lmpression must not covsl iexl or lines. lf seal impression
                                                                                                    siludges, re-seal if a sufficient area permits, otheryise complele a
                                                                                                    ditferent jurat form-
                                                                                                                  .:. Additional informaiion ls not reqeired but could help
                                                                                                                        to ensure this turat is not misused or a;iached to a
                                                                                                                      different document.
                                                                                                                  'l  lndicate title or type of atiached docunrent, number of
                                                                                                                      pages and date.
      :'jl:   Ja .; lr" ',\,.,,!. fi,.:l:i,"Jj i.j'ii::i: i:.::tl llill-3'.i   ::3:i            .   Securely attach this documenl to the signed docunlent with a staple
Case No. 1:16-cv-02981-MSK-MDB Document 109-18 filed 11/01/21 USDC Colorado pg 11
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    i\ nsw custonler has sigrred up oniLrtr.

    (iustonrer Nunrc: Eurton Eiectlic (r\C'(.I't)00078 l0)
    .Iirst n*amel John
    Lrst lirmc: Buchansn
    Ern a il:.iolrlr@c'urtoneieclric com
    Phcrne:562-9:t6-41?7
    -t'ax:562-946-001.1
    :\dtlress Line l: 9920 Paitrter ,"\ve.
    rlddress l.,ilc 2: P.O. Ro.r 2l I   -3

    City: Santa Ie Spriugs
    State: (lA
    Zip: 9067t)
    Itou rloultl 1 ou like to receivt yorlr ir\oices?: eniiil
    Billing Contact Nanre: Julie

    Scopc: Prcrduttion

    Tlre CLstonrer has agreed lo \\:€stll!lx's Te n:rs ud, Conrlltions sel I'orlh trelow etitci:ve 1Ver1r,esriir1 . August 29, 20t2

    Tenns ancl Conditions

    Dy acceptinrl belcrrv "t ACCIEPT" Clust.xlrer AGREES to use \\iesllar's lircsimile plotform slrictlf itt accordance rvilh these'l'emrs and


    ("TCPA"). The Cuslon: er is aiready arvare rvilhout \\iestFar's inve ivenrent or adviDe drat the TCIA arLd thc! FCC: state: 1 . The Cu stoniet is thL-




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                                                                                    REMIT TA:
     -lMes sfrort cootnunicutic!1                                                   10465 PARK MEADOWS DRIVE SUITE 2AO
                                                                                    LONE TREE, CO 80124
                                                                                    rEL: (30j) 299-9329
                                                                                    F/tX: (303) 299-9309

          BILL TO


          Eurton Electric
                                                                                                                           lnvoice
          Atin: Julie
                                                                       ACCOUNT NUMBER                       DATE         TNVOtCE #
          9920 Painter Ave.
          P.O. Box 2113
                                                                                    781 0                  7i2312A16        1277917
          Sanla Fe Springs, CA S0670


                                                                                                                          Terms
                                                                                                                       Due on receipt

                                    ITEM DESCRIPTION                                                QUANTITY              AMOUNT

   Broadcast Fax Per Page Normal Eurtron Electric - Dale:.712212016 Job:                                       319.0             $   3.03
   BFX-81965263 Name: lvlotion lnd - Motion lndustries CSV Faxes 2016.csv Billing
  Codq jofn 722t6




          When you provide a check as payment, you attthorize tts either to use
        inforrnation {rotn your check to make a one-time electronic fund transfer            TOTAL                             13.03
          from our account or to          s the         as a check transaction.

               Questiorrs? Please contact accounting@westfax'com for support.                                                 Pg.           1
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                                                                                REMIT TO

     -lAlessmart connunicclian                                                      10465 PARK MEADOWS DRIVE SUITE 2OO
                                                                                    LONE TREE, CO 80124
                                                                                TEL: (303) 29e-9329
                                                                                FAX: (303) 299-9309

          BILL TO:
                                                                                                                       lnvoice
          Eurton Electric
          Attn: Julie
                                                                      ACCOUNT NUMBER                   DATE          INVO|CE #
          9920 Painter Ave.
          P.O. Box 2113                                                                               7 t30t2016        1278374
                                                                                7B1A
          Santa Fe Springs, CA 90670


                                                                                                                      Terms
                                                                                                                   Due on receipt

                                 ITEM DESCRIPTION                                              QUANTITY               AMOUNT

   Broadcast Fax Fer Page Nornral Eurtron Electric -Dale:712612016 Job:                                   129.0               $5.33
   SFX-82136242 Name: APU Repair ' APU Fax Numbers 2016.csv Billing Code:
      72616
   Broaclcast Fax Per Page Normal Eurtron Electric -Dale 712712Q16 Job                                  1,597.0              $66.25
   BFX-82195734 Name: tach roior rervinding - EASA & Motor Shops CSV Fax
   Billing Cgde: joh;n7 27 I 6




          When you provide a check as paynlent, yotr authorize us either to use
        information from your check to nlake a one-time electronic fulrd transfer         TOTAL                            71.58
          frorn our account or to       s the    ment as a check transaction.

              Questions? Please contact accounting@westfax.com for supporl                                                Pg.         1
